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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                              OWENSBORO DIVISION

FROZEN STAR HOLDINGS II LLC,

                      Plaintiff,

v.                                                                 Civil Action No.

POLLARD MANAGEMENT GROUP                                          4:21-CV-133-JHM
OF KENTUCKY LLC, JASON POLLARD
AND MATT HAAGA,

                      Defendants.


                                         COMPLAINT


       COMES NOW, Plaintiff, Frozen Star Holdings II LLC, by and through counsel and for

its Complaint against Defendants, Pollard Management Group of Kentucky LLC, Jason Pollard

and Matt Haaga states as follows:

                          PARTIES, JURISDICTION AND VENUE

       1.      Plaintiff Frozen Star Holdings II LLC is a Delaware Limited Liability Company,

with its principal office and place of business in Wilmington, Delaware.

       2.      Defendant Pollard Management Group of Kentucky LLC is a Kentucky Limited

Liability Company, with is principal office and place of business in Madisonville, Kentucky.

       3.      Defendant Jason Scott Pollard is a resident of the Commonwealth of Kentucky and

has been such for all times relevant to this Complaint.

       4.      Upon information and belief, at all times relevant hereto, Defendant Jason Pollard

is the President and sole member of Pollard Management Group of Kentucky LLC.




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       5.      Upon information and belief, Defendant Matt Haaga is a resident of the State of

Indiana.

       6.      Upon information and belief, at all times relevant hereto, Defendant Matt Haaga

served as an employee and/or consultant with Defendant Pollard Management Group of Kentucky

LLC.

       7.      As Defendant Jason Pollard is an employee of Defendant Pollard Management

Group of Kentucky LLC at all time relevant hereto and Defendant Matt Haaga is an employee

and/or agent of Defendant Pollard Management Group of Kentucky LLC at all times relevant

hereto, Defendant Pollard Management Group of Kentucky LLC is chargeable with Defendant

Jason Pollard and Defendant Matt Haaga’s conduct under the legal and equitable doctrines of

vicarious liability, specifically including, but not limited to the doctrines of employer/employee,

master/servant, principle/agent, non-delegable duty and respondent superior.

       8.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332 based

upon complete diversity of citizenship between the parties and an amount in controversy in excess

of $75,000.00, exclusive of interest and costs.

       9.      Venue is proper with the United States District Court for the Western District of

Kentucky pursuant to 28 U.S.C. § 1391(a) and (b), because the transactions giving rise to this

Complaint occurred in the Western District of Kentucky and the real and personal property which

is the subject of this action is situated in the Western District of Kentucky.

                                   ALLEGATIONS OF FACT

       10.     On February 20, 2020, Hartshorne Holdings, LLC and its affiliated debtors and

debtors-in-possession Hartshorne Mining Group, LLC, a Delaware limited liability company,

Hartshorne Land, LLC, a Delaware limited liability company, and Hartshorne Mining, LLC, a



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Delaware limited liability Company (collectively “Hartshorne) each filed a voluntary petition for

relief under Chapter 11 of Title 11 of the United States Code in the United States Bankruptcy Court

for the Western District of Kentucky.

       11.     On October 30, 2020, Hartshorne entered into a Purchase and Sale Agreement with

Plaintiff Frozen Star Holdings II LLC an affiliate of the Hartshorne’s Secured Debtor-in-

Possession agent and lender, Tribeca Global Resources Credit Pty Ltd., for the sale of (i) the coal

washing plant; (ii) the material handling facility; and (iii) the plate and frame press building and

contents used in connection with the Hartshorne Wash Plant and Material Handling Facility (“coal

processing plant”).

       12.     Hartshorne, or their representatives who signed the Agreement, had complete and

unrestricted power, capacity and authority to enter into the Agreement.

       13.      Plaintiff Frozen Star Holdings II LLC, or its representatives who signed the

Agreement, had complete and unrestricted power, capacity and authority to enter into the

Agreement.

       14.     Hartshorne, or their authorized representatives, signed the Agreement and agreed

to be bound by the terms of the Agreement.

       15.      Plaintiff Frozen Star Holdings II LLC, or its authorized representatives, signed the

Agreement and agreed to be bound by the terms of the Agreement.

       16.     The Agreement addresses the purchase of all coal washing structures and material

handling structures affixed to the real property; all apparatus, equipment and appliance used in

connection with the operation or occupancy of the coal washing facilities and material handling

facilities; the plate and frame press buildings and contents; and all tangible personal property

located on and used in connection with the coal washing and material handling facilities.



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       17.     The intent of the Agreement was for Plaintiff Frozen Star Holdings II LLC to

acquire the entire coal processing plant owned by Hartshorne located in McLean County,

Kentucky for Four Million Five Hundred Thousand Dollars ($4,500,000.00).

       18.     That same day, Hartshorne petitioned the United States Bankruptcy Court for the

Western District of Kentucky to authorize the sale of the coal processing plant to Plaintiff Frozen

Star Holdings II LLC free and clear of all liens, claims and encumbrances.

       19.     On December 1, 2020, Hartshorne and Plaintiff Frozen Star Holdings II LLC

amended the Agreement. Hartshorne and Plaintiff Frozen Star Holdings II LLC amended the

original Agreement to (1) identify and include all Debtors in these Chapter 11 cases as sellers to

the Agreement with respect to the Property subject to this Amendment; (2) amend the definition

of Property to add certain causes of action under Chapter 5 of the Bankruptcy Code; (3) amend the

Purchase Price to specify that the aggregate consideration being delivered by Buyer under the

Agreement consists of a credit bid of Five Million Dollars ($5,000,000.00); and (4) provide that

the Sale Order shall convey to Buyer, or its designee, certain causes of action under Chapter 5 of

the Bankruptcy Code.

       20.     On December 2, 2020, the United States Bankruptcy Court for the Western District

of Kentucky approved Hartshorne’s sale of the coal processing plant to Plaintiff Frozen Star

Holdings II LLC free and clear of all liens, claims and encumbrances.

       21.     On December 3, 2020, Hartshorne and Plaintiff Frozen Star Holdings II LLC, or

their representative agents, entered into a Bill of Sale concerning the coal processing plant.

       22.     The Bill of Sale memorialized the intent of the Agreement between Hartshorne and

Plaintiff Frozen Star Holdings II LLC.




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       23.     Pursuant to Section 7.6 of the Agreement, “[f]ollowing the Closing, [Plaintiff

Frozen Star Holdings II LLC], [Plaintiff Frozen Star Holdings II LLC’s] Affiliates and their

Representatives shall have reasonable access to the Real Property for the purposes of

disassembling and removing the Property, provided, however, that any such removal activities

shall be conducted at Buyer’s and Buyer’s Affiliates’ sole risk and at Buyer’s and Buyer’s

Affiliates’ sole cost and expense during normal business hours upon reasonable advance notice to

Sellers, under the supervision of Sellers’ personnel, in compliance with all of Sellers’ health, safety

and environmental regulations and procedures, and in such a manner as not to interfere with the

normal operations of Debtors conducted at the Real Property (other than the Business).”

       24.     Section 7.6 of the Agreement further states, “[Plaintiff Frozen Star Holdings II

LLC] shall have removed all Property which consists of tangible personal property no later than

180 days following the Closing Date.”

       25.     The closing of the Agreement occurred through the United States Bankruptcy Court

for the Western District of Kentucky’s approval of Hartshorne’s Joint Chapter 11 Plan of

Liquidation.

       26.     There is nothing contained in the Agreement that warrants or permits the

assessment of storage fees in connection with the removal of the coal processing plant.

       27.     Additionally, Section 10.8 of the Agreement states, “This Agreement shall be

binding upon and shall inure to the benefit of the parties hereto and their respective successors and

permitted assigns.”

       28.     The purchase of the coal processing plant was subject to the terms and conditions

of the Agreement.




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       29.     Pursuant to the terms of the Agreement, Plaintiff Frozen Star Holdings II LLC was

required to have reasonable access to the Real Property for the purposes of disassembling and

removing the Property, and Plaintiff Frozen Star Holdings II LLC had 180 days following the

Closing Date to remove the coal processing plant purchased under the Agreement.

       30.     The Closing Date of the Agreement between Hartshorne and Plaintiff Frozen Star

Holdings II LLC was February 23, 2021.

       31.     Accordingly, Plaintiff Frozen Star Holdings II LLC was contractually entitled to

reasonable access to the coal processing plant between February 23, 2021 and August 22, 2021 for

the purposes of removing the coal processing plant.

       32.     On January 22, 2021, Hartshorne and Defendant Pollard Management Group of

Kentucky, LLC entered into a Purchase and Sale Agreement.

       33.     Pursuant to the Purchase and Sale Agreement between Hartshorne and Defendant

Pollard Management Group of Kentucky LLC,                Defendant Pollard Management Group of

Kentucky LLC purchased all tangible personal property located on the real property, except the

coal processing plant; the real property; and permits.

       34.     The real property subject to the Purchase and Sales Agreement between Hartshorne

and Defendant Pollard Management Group of Kentucky LLC, is the same real property upon

which Plaintiff Frozen Star Holdings II LLC’s coal processing plant is situated.

       35.     On June 25, 2021,      Defendant Jason Pollard, through counsel, informed the

representative of Plaintiff Frozen Star Holdings II LLC that beginning on August 1, 2021,

Defendant Pollard Management Group of Kentucky LLC would begin assessing Plaintiff Frozen

Star Holdings II LLC an arbitrary $40,000.00 per month storage fee associated with Plaintiff

Frozen Star Holdings II LLC’s coal processing plant.



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         36.   The June 25, 2021 correspondence further indicated that no one will be allowed on

the property without Defendant Jason Scott Pollard’s authorization.

         37.   Based on this correspondence, Plaintiff Frozen Star Holdings II LLC attempted, in

good faith, to negotiate with Defendant Pollard Management Group of Kentucky LLC and

Defendant Jason Scott Pollard for the removal of the coal processing plant within the temporal

deadlines set forth in the Agreement between Hartshorne and Plaintiff Frozen Star Holdings II

LLC.

         38.    Plaintiff Frozen Star Holdings II LLC informed Defendant Pollard Management

Group of Kentucky LLC and Defendant Jason Scott Pollard, through his counsel, that pursuant to

the Agreement, Plaintiff Frozen Star Holdings II LLC was required to have reasonable access to

the property up to and including August 22, 2021 for purposes of removal of the coal processing

plant.

         39.   On July 23, 2021, Defendant Jason Scott Pollard, through counsel, informed

Plaintiff Frozen Star Holdings II LLC that Defendant Pollard Management Group of Kentucky

would begin assessing Plaintiff Frozen Star Holdings II LLC an arbitrary amount of $1,500.00

per day for each day the coal processing plant remained on the property located in McLean County,

Kentucky.

         40.   These “storage fees” were not contemplated or referenced in the Agreement

between Hartshorne and Plaintiff Frozen Star Holdings II LLC.

         41.   On July 27, 2021, representatives of Plaintiff Frozen Star Holdings II LLC and

Energy Technologies, Inc. of Knoxville, Tennessee travelled to the subject property in order to

remove nuclear gauges from the coal processing plant and begin dismantling it in order to transport

it to its new location in Hico, West Virginia.



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       42.     On July 27, 2021, representatives of Energy Technologies, Inc. of Knoxville,

Tennessee and the Commonwealth of Kentucky’s Radioactive Materials Section of Kentucky

Radiation Health Branch sought access to the coal processing plant and informed Defendant

Pollard Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant

Matt Haaga of their contractual agreement with Plaintiff Frozen Star Holdings II LLC for the

purpose of removing the nuclear gauges from the coal processing plant.

       43.     On July 27, 2021, Defendant Pollard Management Group of Kentucky LLC,

Defendant Jason Scott Pollard and Defendant Matt Haaga denied representatives of Energy

Technologies, Inc. of Knoxville, Tennessee and the Commonwealth of Kentucky’s Radioactive

Materials Section of Kentucky Radiation Health Branch access to the coal processing plant for the

purposes of removal of the nuclear gauges.

       44.     Specifically, Defendant Jason Scott Pollard and Defendant Matt Haaga stated that

no one would have access to the real property for removal of the nuclear gauges or coal processing

plant without paying them Four Thousand Five Hundred Dollars (“$4,500.00”).

       45.     As a result of Defendant Jason Scott Pollard and Defendant Matt Haaga’s denial

of representatives of Plaintiff Frozen Star Holdings II LLC and Energy Technologies, Inc. of

Knoxville, Tennessee access to the coal processing plant, Defendant Jason Scott Pollard and

Defendant Matt Haaga were contacted by the Commonwealth of Kentucky. The Commonwealth

of Kentucky informed Defendant Jason Scott Pollard and Defendant Matt Haaga that the nuclear

gauges are a public safety and health risk and were required to be removed. Nonetheless,

Defendant Jason Scott Pollard and Defendant Matt Haaga continued to refuse representatives of

Plaintiff Frozen Star Holdings II LLC and Energy Technologies, Inc. of Knoxville, Tennessee

access to the coal processing plant.



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       46.     On or about August 4, 2021, as a result of Defendant Jason Scott Pollard and

Defendant Matt Haaga’s denial of representatives of Plaintiff Frozen Star Holdings II LLC and

Energy Technologies, Inc. of Knoxville, Tennessee access to the coal processing plant without

prior payment of the arbitrary fees, Plaintiff Frozen Star Holdings II LLC lost its deal with the

contractor contracted for the dismantle, removal and transportation of the coal processing plant.

       47.     Again,   Plaintiff Frozen Star Holdings II LLC attempted to negotiate with

Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott Pollard and

Defendant Matt Haaga, through their counsel, for access to its coal processing plant in order to

remove the coal processing plant within the temporal deadlines sets forth informed in the

Agreement.

       48.     However, Defendant Pollard Management Group of Kentucky LLC, Defendant

Jason Scott Pollard and Defendant Matt Haaga have continued to refuse to provide Plaintiff Frozen

Star Holdings II LLC access to its property and the coal processing plant.

       49.     As a result of Defendant Pollard Management Group of Kentucky LLC, Defendant

Jason Scott Pollard and Defendant Matt Haaga’s conduct, Plaintiff Frozen Star Holdings II LLC

has been denied reasonable access to the coal processing plant in order to appraise it or remove it

to its new location.

       50.     Instead, Defendant Pollard Management Group of Kentucky LLC, Defendant Jason

Scott Pollard and Defendant Matt Haaga have held Plaintiff Frozen Star Holdings II LLC coal

processing plant for ransom at the arbitrary rate of $1,500.00 per day beginning on July 23, 2021.

       51.     Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

Pollard and Defendant Matt Haaga also requested that Plaintiff Frozen Star Holdings II LLC




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 provide them with site specific safety plans before allowing Plaintiff Frozen Star Holdings II LLC

 access to the coal processing plant.

        52.     However, in doing so, Defendant Pollard Management Group of Kentucky LLC,

 Defendant Jason Scott Pollard and Defendant Matt Haaga presented Plaintiff Frozen Star Holdings

 II LLC with a Hobson’s choice. Defendant Pollard Management Group of Kentucky LLC,

 Defendant Jason Scott Pollard and Defendant Matt Haaga know that Plaintiff Frozen Star

 Holdings II LLC cannot provide them with the requested information without selection of a

 specified date for Plaintiff Frozen Star Holdings II LLC’s access to the property for removal of

 the coal processing plant.   Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga further know that Plaintiff Frozen Star Holdings

 II LLC cannot provide them with a site specific safety plan without prior access to the site where

 the coal processing plant is situated.

        53.     On or about August 25, 2021, Plaintiff Frozen Star Holdings II LLC, again,

 attempted to negotiate with Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga, through their counsel, for reasonable access to its

 coal processing plant in order to remove it pursuant to the Agreement.

        54.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga continued to deny Plaintiff Frozen Star Holdings II LLC

 reasonable access to the coal processing plant and provided Plaintiff Frozen Star Holdings II LLC

 with an invoice seeking $51,500.00.

        55.     Upon information and belief, on September 23, 2021, Defendant Pollard

 Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga

 entered into a verbal agreement with Terry Shanks and Zachary Southard for the sale of the coal



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 processing plant which Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga knew was rightfully and legally owned by Plaintiff

 Frozen Star Holdings II LLC.

        56.      While engaging in the attempted theft of Plaintiff Frozen Star Holdings II LLC’s

 coal processing plant, on or about September 30, 2021, while the parties continued to negotiate

 Plaintiff Frozen Star Holdings II LLC’s reasonable access to the coal processing plant, Defendant

 Pollard Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant

 Matt Haaga provided Plaintiff Frozen Star Holdings II LLC with an additional invoice seeking

 $105,500.00.

        57.      As of the filing of this Complaint, Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga seek $197,000.00 in

 storage fees.

        58.      On October 8, 2021, Plaintiff Frozen Star Holdings II LLC entered into a business

 relationship or expectancy with Dicken-Russell Contura, LLC for the purchase of the plate and

 frame press building and contents on the real property that are owned by Plaintiff Frozen Star

 Holdings II LLC.

        59.      On or about October 8, 2021, counsel for Plaintiff Frozen Star Holdings II LLC,

 Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott Pollard and

 Defendant Matt Haaga negotiated for Plaintiff Frozen Star Holdings II LLC to have access to the

 coal processing plant on October 12, 2021, for the limited purpose of showing this potential buyer

 the plate and frame press building and contents on the real property that were owned by Plaintiff

 Frozen Star Holdings II LLC.




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        60.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga have refused to allow Plaintiff Frozen Star Holdings II LLC

 access to its coal processing plant.

        61.     Through Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga’s wrongful exercise of dominion over Plaintiff

 Frozen Star Holdings II LLC’s property, Plaintiff Frozen Star Holdings II LLC has lost possession

 and rightful access to its $5,000,000.00 coal processing plant.

        62.     As a result of Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga’s actions, Plaintiff Frozen Star Holdings II LLC

 lost its contract with the company charged with the dismantle, removal and transfer of the coal

 processing plant.

        63.     As a result of Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga’s actions, Plaintiff Frozen Star Holdings II LLC

 lost the ability to finance the coal processing plant as a result of Plaintiff Frozen Star Holdings II

 LLC’s lack of ability to access the coal processing plant for purposes of conducting an appraisal

 of the coal processing plant.

        64.     As a result of Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga’s actions, Plaintiff Frozen Star Holdings II LLC

 has continued to lose business opportunities. Defendant Pollard Management Group of Kentucky

 LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga delays in allowing Plaintiff Frozen

 Star Holdings II LLC access to the coal processing plant have cost us tens of millions of dollars in

 additional cost and potential lost profits. Plaintiff Frozen Star Holdings II LLC has obtained

 permits for use of the coal processing plant in Hico, West Virginia. As a result of Defendant



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 Pollard Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant

 Matt Haaga’s conduct, Plaintiff Frozen Star Holdings II LLC continues to suffer monetary loss,

 each and every day, resulting from its inability to process coal at its Hico, West Virginia property.

                                            COUNT I
                                          CONVERSION

        65.      Plaintiff Frozen Star Holdings II LLC incorporates by reference the allegations

 contained in Paragraphs 1-64 of this this Complaint, as if set forth fully herein.

        66.     Pursuant to the Agreement and Bill of Sale, Plaintiff Frozen Star Holdings II LLC

 possesses legal title, dominion and ownership interest over the coal processing plant situated in

 McLean County, Kentucky.

        67.     At all times relevant hereto, Plaintiff Frozen Star Holdings II LLC had the legal

 right to possess the coal processing plant situated in McLean County, Kentucky.

        68.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga have refused to allow Plaintiff Frozen Star Holdings II LLC

 access to the coal processing plant for the purposes of removing, dismantling and transporting it.

        69.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga have exercised dominion over the coal processing plant legally

 belonging to Plaintiff Frozen Star Holdings II LLC and have illegally deprived Plaintiff Frozen

 Star Holdings II LLC of its legal right to the use and enjoyment of the coal processing plant.

        70.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga have intentionally interfered with Plaintiff Frozen Star

 Holdings II LLC’s legal right to the use and enjoyment of the coal processing plant through its

 refusal to allow Plaintiff Frozen Star Holdings II LLC and its agents reasonable access to the coal

 processing plant as contemplated by the Agreement.

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        71.     On numerous occasions, Plaintiff Frozen Star Holdings II LLC has demanded

 reasonable access to the coal processing plant for the purpose of removing, dismantling and

 transporting it pursuant to the terms of the Agreement.

        72.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga continuously refuse to provide Plaintiff Frozen Star Holdings

 II LLC reasonable access to the coal processing plant.

        73.     Moreover, Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga sought to sell the coal processing plant to a third-

 party in order to steal it from Plaintiff Frozen Star Holdings II LLC.

        74.     As a result of Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga’s conduct, Plaintiff Frozen Star Holdings II LLC

 is now outside of the removal period set forth in the Agreement, which may result in its loss of the

 subject coal processing plant under the Agreement.

        75.      Plaintiff Frozen Star Holdings II LLC has suffered pecuniary loss of its legal right

 and dominion over the coal processing plant as a direct and proximate cause of Defendant Pollard

 Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt

 Haaga’s refusal to allow Plaintiff Frozen Star Holdings II LLC access to its coal processing plant.

        76.     As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, Plaintiff

 Frozen Star Holdings II LLC has suffered damages in excess of the minimum jurisdictional limits

 of this Court, and is entitled to compensatory damages, contractual damages and attorneys’ fees.




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                                COUNT II
          TORTIOUS INTERFERENCE WITH CONTRACTUAL RELATIONSHIP

          77.    Plaintiff Frozen Star Holdings II LLC incorporates by reference the allegations

 contained in Paragraphs 1-76 of this Complaint, as if set forth fully herein.

          78.   Pursuant to correspondence beginning on June 25, 2021,           Defendant Pollard

 Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga

 had full knowledge of the Agreement entered into between Hartshorne Mining, LLC, Hartshorne

 Holdings, LLC and Plaintiff Frozen Star Holdings II LLC for the purchase of the coal processing

 plant.

          79.   As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, Plaintiff

 Frozen Star Holdings II LLC was not able to remove the coal processing plant within the temporal

 deadlines set forth in the Agreement.

          80.   As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, Plaintiff

 Frozen Star Holdings II LLC is currently in breach of the Agreement.

          81.   As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, Plaintiff

 Frozen Star Holdings II LLC now stands to lose its $5 Million investment in the coal processing

 plant.

          82.   As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, Plaintiff

 Frozen Star Holdings II LLC was not able to remove the nuclear gauges from the coal processing

 plant.

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        83.     As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, Plaintiff

 Frozen Star Holdings II LLC has suffered a pecuniary loss and loss of the benefits of its contract

 with Energy Technologies, Inc. of Knoxville, Tennessee for the removal of the nuclear gauges

 from the coal processing plant.

        84.     As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, for which

 there is no privilege or legal justification, Plaintiff Frozen Star Holdings II LLC has suffered

 damages in excess of the minimum jurisdictional limits of this Court, and is entitled to

 compensatory damages, contractual damages and attorneys’ fees.

                             COUNT III
    TORTIOUS INTERFERENCE WITH PROSPECTIVE ECONOMIC ADVANTAGE

        85.      Plaintiff Frozen Star Holdings II LLC incorporates by reference the allegations

 contained in Paragraphs 1-84 of this Complaint, as if set forth fully herein.

        86.     Beginning on or about September 23, 2021 and continuing up to and through,

 October 13, 2021, Defendant Pollard Management Group of Kentucky LLC, Defendant Jason

 Scott Pollard and Defendant Matt Haaga improperly and intentionally interfered with Plaintiff

 Frozen Star Holdings II LLC’s business relationship and expectancy with Dicken-Russell Contura,

 LLC by entering into an agreement with a third-party for the sale of the coal processing plant

 which Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott Pollard

 and Defendant Matt Haaga knew was rightfully and legally owned by Plaintiff Frozen Star

 Holdings II LLC.

        87.     As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s false representations

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 that they own the coal processing plant and possess the right to sell it, Plaintiff Frozen Star

 Holdings II LLC has been prevented from closing on the sale of the plate and frame press building

 and contents.

        88.      As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, for which

 there is no legal justification, Plaintiff Frozen Star Holdings II LLC has suffered damages in

 excess of the minimum jurisdictional limits of this Court, and is entitled to compensatory damages,

 contractual damages and attorneys’ fees.

                                         COUNT IV
                                    UNJUST ENRICHMENT

        89.      Plaintiff Frozen Star Holdings II LLC incorporates by reference the allegations

 contained in Paragraphs 1-88 of this Complaint, as if set forth fully herein.

        90.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga received and continue to receive things of value in the coal

 processing plant to the detriment, burden and expense of Plaintiff Frozen Star Holdings II LLC.

        91.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga have not met the performance obligations outlined in the

 Agreement, because they have denied Plaintiff Frozen Star Holdings II LLC reasonable access to

 the coal processing plant, while simultaneously charging Plaintiff Frozen Star Holdings II LLC

 $1,500.00 per day for access to the processing plant.

        92.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga have been unjustly enriched to the detriment of Plaintiff Frozen

 Star Holdings II LLC.




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        93.     There has been a benefit conferred upon Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga, namely, the value of

 the coal processing plant, at Plaintiff Frozen Star Holdings II LLC’s expense.

        94.     There has been a resulting appreciation of the benefit by Defendant Pollard

 Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga.

        95.     This has resulted in an inequitable retention of the benefit by Defendant Pollard

 Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga.

        96.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga should be required to pay restitution to Plaintiff Frozen Star

 Holdings II LLC for the unjust enrichment they reaped at the expense of Plaintiff Frozen Star

 Holdings II LLC in an amount to be determined at trial, plus prejudgment and post-judgment

 interest, costs expenses and attorneys’ fees.

        97.     As a direct and proximate result of the wrongful conduct of Defendant Pollard

 Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga,

 Plaintiff Frozen Star Holdings II LLC has suffered damages in excess of the minimum

 jurisdictional limits of this Court, and is entitled to compensatory damages, contractual damages,

 and attorneys’ fees.

                                           COUNT V
                                      CIVIL CONSPIRACY

        98.      Plaintiff Frozen Star Holdings II LLC incorporates by reference the allegations

 contained in Paragraphs 1-97 of this Complaint, as if set forth fully herein.

        99.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga have corruptly and unlawfully agreed to prevent Plaintiff

 Frozen Star Holdings II LLC from access to property legally and rightfully belonging to it in order

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 to charge and extort Plaintiff Frozen Star Holdings II LLC out of hundreds of thousands of dollars

 for which the Parties have never mutually assented to.

        100.    Further, Defendant Pollard Management Group of Kentucky LLC, Defendant Jason

 Scott Pollard and Defendant Matt Haaga have corruptly and unlawfully agreed to sell Plaintiff

 Frozen Star Holdings II LLC’s legally and rightfully owned coal processing plant to a third-party

 with full and express knowledge that Plaintiff Frozen Star Holdings II LLC legally and rightfully

 owns the coal processing plant and with full and express knowledge that Defendant Pollard

 Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga

 have no legal interest in the coal processing plant, legal title to the coal processing plant nor legal

 right to sale Plaintiff Frozen Star Holdings II LLC’s coal processing plant.

        101.    Upon information and belief, on September 23, 2021, while Plaintiff Frozen Star

 Holdings, II, LLC and counsel for Defendant Pollard Management Group of Kentucky LLC,

 Defendant Jason Scott Pollard and Defendant Matt Haaga were continuing to negotiate for

 Plaintiff Frozen Star Holdings, II, LLC’s access to its coal processing plant, Defendant Pollard

 Management Group of Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga

 negotiated and entered into a verbal agreement with Terry Shanks and Zachary Southard for the

 sale of the coal processing plant.

        102.    Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga knew the coal processing plant rightfully and legally owned by

 Plaintiff Frozen Star Holdings, II, LLC.

        103.    However, Defendant Pollard Management Group of Kentucky LLC, Defendant

 Jason Scott Pollard and Defendant Matt Haaga forestalled Plaintiff Frozen Star Holdings, II, LLC

 from accessing its coal processing plant, while simultaneously attempting to sell said coal



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 processing plant without permission from Plaintiff Frozen Star Holdings, II, LLC or the legal

 authority to do such.

         104.      As a direct and proximate cause of Defendant Pollard Management Group of

 Kentucky LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga’s conduct, for which

 there is no legal justification, Plaintiff Frozen Star Holdings II LLC has suffered damages in excess

 of the minimum jurisdictional limits of this Court, and is entitled to compensatory damages,

 contractual damages and attorneys’ fees.

                                        COUNT VI
                                  DECLARATORY JUDGMENT

         105.      Plaintiff Frozen Star Holdings II LLC incorporates by reference the allegations

 contained in Paragraphs 1-104 of this Complaint, as if set forth fully herein.

         106.      Plaintiff Frozen Star Holdings II LLC has demanded access to the coal processing

 plant and rescission of any fees levied during the 180 days Plaintiff Frozen Star Holdings II LLC

 was contractually entitled to reasonable access to the coal processing plant for its removal.

         107.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga have rejected and denied Plaintiff Frozen Star Holdings II

 LLC’s demand for access to its coal processing plant and rescission of fees.

         108.      Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott

 Pollard and Defendant Matt Haaga owe a duty and obligation to allow Plaintiff Frozen Star

 Holdings II LLC reasonable access to its coal processing plant without the assessment of any

 arbitrary fees.

         109.      An actual controversy exists between Plaintiff Frozen Star Holdings II LLC and

 Defendant Pollard Management Group of Kentucky LLC, Defendant Jason Scott Pollard and

 Defendant Matt Haaga concerning certain provisions of the Agreement.

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        110.   Pursuant to 28 U.S.C. § 2201 and Fed. R. Civ. P. 57, the United States District

 Court of the Western District of Kentucky may declare the rights between Plaintiff Frozen Star

 Holdings II LLC and Defendant Pollard Management Group of Kentucky LLC, Defendant Jason

 Scott Pollard and Defendant Matt Haaga concerning certain provisions of the Agreement.



        WHEREFORE, Plaintiff Frozen Star Holdings II LLC demands the following relief:

               a.     A declaration that Defendant Pollard Management Group of Kentucky
                      LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga shall permit
                      Plaintiff Frozen Star Holdings II LLC immediate access to its coal
                      processing plant to remove said coal processing plant without the
                      assessment of any fees;

               b.     A declaration that Defendant Pollard Management Group of Kentucky
                      LLC, Defendant Jason Scott Pollard and Defendant Matt Haaga must
                      refrain from any action that will adversely affect Plaintiff Frozen Star
                      Holdings II LLC’s ownership interest in the coal processing plant at issue
                      during the course of this litigation.

               c.     A judgment in an amount to be determined by the Court, but which includes,
                      compensatory and contractual damages;

               c.     Prejudgment and post-judgment interest;

               d.     Costs, expenses and attorneys’ fees;

               e.     Joint and several liability for each of the defendants; and

               f.     Any and all such other relief to which Plaintiff Frozen Star Holdings II LLC
                      may appear entitled.




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                                      FROZEN STAR HOLDINGS II LLC



                                       By: /s/ Randall L. Saunders
                                                 Of Counsel




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